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STEPHEN W. KENYON

CLERK, DISTRICT OF IDAHO

UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF IDAHO

COSTCO WHOLESALE CORPORATION,
Petitioner,
vs.

ROMA DESIGNER JEWELRY LLC;
NATIONAL TRADESHOW LLC,

Respondent.

 

 

Case No,

MEMORANDUM IN SUPPORT OF
MOTION TO ENFORCE SUBPOENA
DUCES TECUM

[UNDERLYING CASE PENDING IN
THE IN THE UNITED STATES
DISTRICT COURT FOR THE
DISTRICT OF MARYLAND
NORTHERN DIVISION]

MEMORANDUM IN SUPPORT OF MOTION TO ENFORCE SUBPOENA

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INTRODUCTION

Petitioner Costco Wholesale Corporation (“Costco”), through its counsel, Seyfarth Shaw
LLP, served subpoenas upon third-parties, Roma Designer Jewelry LLC (“Roma”) and National
Tradeshow LLC (“National Tradeshow”) (collectively, “the Respondents”), to produce
documents. Roma and National Tradeshow are Idaho entities and were served on March 27,
2020, via their respective registered agents - Dave and Becky Callister - in Eagle, Idaho.
Compliance was required by April 10, 2020. Both Respondents failed to respond or object to the
subpoenas, Mr, and Mrs. Callister also refused to respond to Costco’s April 21, 2020 effort to
contact them regarding their non-compliance.

On or about May 6, 2020, shortly after Costco’s counsel contacted Roma and National
Tradeshow regarding their failure to respond, Dave Callister, a manager-member of both LLCs

filed a Statement of Dissolution of Limited Liability Company for both entities, within minutes

of cach other,! See Declaration of Christine M. Costantino (“Costantino Declaration”), Exhibits

1 and 2.

 

1 Notably, despite “dissolving” Roma Designer J ewelry LLC as of May 6, 2020, the company’s
website is still active, advertising Memorial Day sales, and posting on its Instagram and
Facebook pages as of, at least, May 27, 2020. https://Awww.facebook.com/romadesignerjewelry/
Thus, based on the continuing business operations, Respondents’ failure to respond to Costco in
any manner and the close proximity in time between the dissolution and Costco’s subpoena, this
conduct appears to be a purposeful attempt to evade the Respondents’ obligations with respect to
the pending subpoenas (as well as avoidance of potential liabilities relating to the underlying

lawsuit for which Roma Designer Jewelry has, inter alia, a contractual obligation to indemnify
Costco).

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Nonetheless, the dissolution of these entities does not impact the entities’ (or the
manager-members’) obligations to (1) maintain the Company records requested by Costco in its
subpoenas and (2) produce those documents in response to those subpoenas. See e.g, In re
Aldape Telford Glazier, Inc., 410 B.R. 60, 64 (Bankr. D. Idaho 2009) (“Upon dissolution, an
LLC does not cease to exist. Rather, it continues to exist for the purpose of winding up its
affairs.”); see also Idaho Code Ann. § 30-25-702 (“A dissolved limited liability company shall
wind up its activities and affairs and, except as otherwise provided in section 30-25-703, Idaho
Code, the company continues after dissolution only for the purpose of winding up.”) Therefore,
pursuant to Fed, R. Civ, P. 45, Costco respectfully request that each Respondent be compelled to
produce the requested documents,

FACTUAL AND PROCEDURAL BACKGROUND

Underlying Litigation and Role of Respondents: Roma, a company founded by Dave and
Becky Callister, imports a line of jewelry which is sold on the internet, and, during the relevant
period, was also sold on the premises of certain Costco warehouses throughout the country via

temporary displays operated by Roma, [Civil Action No, 1:18-cv-03547-RDB, ECF No. 1 at
415, copy attached to Costantino Declaration as Exhibit 3.]2 Roma staffed these displays

through its affiliated company, National Tradeshow LLC, also based in Idaho,3 Id. at (16.

 

2 See also https://www .romadesignerjewelry.com/pages/about-roma-designer-jewelry (last
accessed May 28, 2020)

3 See Costantino Declaration, Exhibit 4 (Idaho Secretary of State filings for Roma and National
Trade Show showing Dave Callister and Becky Callister as managing-members); see also id.,
Exhibit 2 (showing dissolution of National Tradeshow LLC executed by “manager” Dave
Callister),

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Martin Zwanetz, a resident of Maryland, is a former employee and/or independent contractor of
Roma and/or National Tradeshow and worked at these temporary displays within various Costco
warehouses in the Mid-Atlantic region from 2014 to 2018. Jd at J17.

In 2018, Mr, Zwanetz filed a lawsuit against Costco, Roma and National Tradeshow in
the United States District Court for the District of Maryland, Civil Action No, 1:18-cv-03547-
RDB, alleging that the defendants were “joint employers” and that he was misclassified as an
independent contractor and not paid overtime in violation of the Fair Labor Standards Act. See,
Costantino Declaration, Exhibit 3, passim. Roma and National Tradeshow were served with

process in that matter via their respective registered agents, Dave and Becky Callister, in Eagle,

Idaho.4 Mr, Zwanetz entered into a resolution with Roma and National Tradeshow and
dismissed the 2018 litigation without prejudice on or about February 6, 2019. [Civil Action No.
1:18-cv-03547-RDB, ECF No. 11, copy of case docket attached to Costantino Declaration as
Exhibit 5]

Mr. Zwanetz filed another lawsuit, against Costco only, in the United States District
Court for the District of Maryland, Civil Action No. 1:19-cv-03491, on or about December 6,
2019, [Civil Action No. 1:19-cv-03491, ECF No, 1, copy attached to Costantino Declaration as

Exhibit 6] Mr, Zwanetz’s 2019 litigation again alleges violations of the Fair Labor Standards

 

4 As Mr. Zwanetz noted in his Complaint in the 2018 litigation, neither Roma nor National
Tradeshow were “registered to conduct business in the State of Maryland, despite having done so
through the acts and omissions complained of herein, in contravention of Section 4A-1002 of the
Corporations and Associations Article.” [Costantino Declaration, Exhibit 3 at 43, 5.]

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Act® based on the theory that Costco was a ‘Joint employer” with Mr, Zwanetz’s former
employer(s), ““a vendor who imports a line of jewelry sold exclusively at Costco stores and on
the internet.” /d. at J¥11, 31. In connection with his services for Roma and National Tradeshow,
the unnamed vendor(s), Mr. Zwanetz alleges that he worked at various Costco locations in, inter
alia, the state of Maryland for at least 223 days between 2016 and 2018. Jd. at J912-13, 58-60.
As Zwanetz was solely “employed” by Roma and/or National Tradeshow, Costco does
not have any documents related to the terms of his relationship or employment with these
entities, such as offer letters, contracts, policies, time sheets, schedules, payroll and
compensation records, relevant written and electronic correspondence and/or other similar
documents critical to defending the 2019 litigation. As a result, Costco issued subpoenas to both
Roma Designer Jewelry and National Tradeshow LLC in connection with this litigation.
Because neither company is registered to do business in Maryland or has a registered agent in

Maryiand, Costco was forced to serve these subpoenas on the registered agents for each

company in Idaho.6

 

5 Mr, Zwanetz also alleges a retaliation claim based on the cessation of services to Costco by
Roma (and by extension National Tradeshow) in or around December 2018, See Costantino
Declaration, Exhibit 6, Count I.

6 Prior to serving Roma and National Tradeshow via registered agent, counsel for Costco
contacted the companies’ attorney in the 2018 litigation, Merry Campbell, to see if she would
accept service on their behalf. (See Costantino Declaration, Exhibit 7, March 27, 2020
Correspondence from E, Janson to M. Campbell.) Ms, Campbell advised that “Roma” would not
authorize her fo accept service. fd. Notably, Roma and National Tradeshow had agreed to
accept service via Merry Campbell, if Plaintiffhad served the subpoena. See Civil Action No.
1:19-cv-00835-RDM, ECF No. 9-1 at 6, 413, copy attached to Costantino Declaration as Exhibit
10, (Civil Action No. 1:19-cv-00835-RDM, in the United States District Court for the District of
Columbia was filed seeking a declaratory judgment approving the settlement, including claims

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Service of Subpoenas: On March 27, 2020, both Roma Designer Jewelry and National
Tradeshow LLC were personally served with a Subponea Duces Tecum requesting the
production of documents. (See Exhibit 8, Subpoena Duces Tecum to Roma Designer Jewelry
and Affidavit of Service for same; Exhibit 9, Subpoena Duces Tecum to National Tradeshow
LLC and Affidavit of Service for same.) Both subpoenas required responsive documents to be
produced by April 10, 2020, and expressly stated that electronic production of documents via
electronic mail or facsimile was both acceptable and preferred. See Costantino Declaration,
Exhibits 8 and 9 at Exhibit A, 98, (“Production by electronic mail
(ccostantino@seyfarth.com) or facsimile (202) 641-9247 is acceptable and
preferred.”)(emphasis in original), Costco’s counsel received no objection or response to these
subpoenas.

On April 21, 2020, Costco’s counsel sent correspondence via Federal Express to both
Dave Callister, registered agent for Roma Designer Jewelry LLC, and Becky Callister, registered
agent for National Tradeshow LLC, to the addresses identified for service of process, (See
Costantino Declaration, Exhibit 11, April 22, 2020 delivery confirmation to Becky Callister,
registered agent, National Tradeshow LLC, 2873 W. Wind Drive, EAGLE, ID 83616 and David
Callister, registered agent, Roma Designer Jewelry LLC, 2873 W. Wind Drive, EAGLE, ID
83616.) The correspondence noted the Respondents’ failure to comply or respond in any manner
to the subpoena and requested that they reach out to Costco’s counsel regarding the status of

their response by April 28, 2020. Additionally, it reiterated that “provision of the documents in

 

brought under the Fair Labor Standards Act, between Mr. Zwanetz and Roma and National
Tradeshow reached in the 2018 litigation originally brought in the District of Maryland.)

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electronic format via email or facsimile is acceptable and preferred to minimize the costs of
copying or delivery.” To the extent electronic production was not practicable, Costco offered
that “[w]e are also happy to provide you with a prepaid federal express label to eliminate
delivery costs if hard copy production is preferred.” (See Costantino Declaration, Exhibit 12,
April 21, 2020 Correspondence to Roma Designer Jewelry, c/o Dave Callister; Jd, Exhibit 13,
April 21, 2020 Correspondence to National Tradeshow LLC, c/o Becky Callister.)

To date, Costco has not received any response or objections (which are now waived) to
these subpoenas, and therefore seek an Order to enforce the subpoena and compel compliance.

ARGUMENT

Under Rule 45(a), a party may seek a subpoena commanding a third party to “produce
designated documents, electronically stored information, or tangible things in that person's
possession, custody, or control.” Wade v. City of Fruitland, 287 F.R.D, 638, 640-41 (D. Idaho
2013) “A subpoena may command ... production of documents, electronically stored
information, or tangible things at a place within 100 miles of where the person resides, is
employed, or regularly transacts business in person.” Fed. R. Civ. P, 45(c)(2)(A). However, Fed.
R. Civ. P. 45(d)(2)(A) also provides that “[a] person commanded to produce documents,
electronically stored information, or tangible things, or to permit the inspection of premises, need
not appear in person at the place of production or inspection unless also commanded to appear
for a deposition, hearing, or trial.”

Here, consistent with the directive that a person need not appear to produce documents in
response to a subpoena, Costco’s subpoena to each Respondent explicitly stated “[p]roduction
by electronic mail (ccostantino@seyfarth.com) or facsimile (202) 641-9247 is acceptable
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and preferred.’(emphasis in original), Costco also took additional steps to minimize burden
and expense to the Respondents associated with complying with the subpoena, by offering a pre-
paid delivery option if hard copy production was easier or preferred, See Fed, R. Civ. P. 45(d)(1)
(“A party or attorney responsible for issuing and serving a subpoena must take reasonable steps
to avoid imposing undue burden or expense on a person subject to the subpoena.”)7

To date, neither Respondent has objected to the subpoenas (or responded in any manner

whatsoever) and therefore, any purported basis for their non-compliance is unclear. Moreover,

all objections are now untimely, and thus waived.8 See Fed. R. Civ. P. 45(d)(2)(B) (“The

objection must be served before the earlier of the time specified for compliance or 14 days after

 

7 There are no circumstances which would have required the Respondents to travel any distance
to comply with the subpoenas. The ability to comply with a subpoena for the production of
documents without having to physically appear is often relied on in compelling compliance with
a subpoena duces tecum. See, also, e.g., Walker v. Ctr. for Food Safety, 667 F. Supp, 2d 133, 138
(D.D.C, 2009) (“Counsel's argument that the subpoena is invalid because it require[d the
subpoenaed party] to produce documents at a location well over the 100 mile limit ... also is
flawed; the 100 mile limit applies to travel by a subpoenaed person, but a person commanded to
produce documents need not appear in person at the place of production or inspection,” (internal
quotation marks omitted)); Jett v. Penner, No, S02-2036 GEBJFMP, 2007 WL 127790, at *2
(E.D, Cal. Jan, 12, 2007) (concluding that a subpoenaed party “is not excused from compliance
with the subpoena on the ground that” the requested records are “located more than 100 miles
from” the place they are to be produced, because the subpoenaed records could simply be mailed
or shipped).

8 To the extent Respondents argue that they cannot be compelled to respond to the subpoena
based on the request to produce documents in Washington, D.C., they have waived any such
objection by failing to timely object to the “location” of production. See Sol v. Whiting, No.
CV-10-01061-PITX-SRB, 2014 WL 12526314, at *1-2 (D. Ariz. July 22, 2014) (enforcing
subpoena served on non-party in Phoenix, Arizona to produce documents to Atlanta, Georgia
location where party subject to the subpoena failed to timely object to subpoena) (“The Court
concludes that Mr. Haney has waived any objection to the subpoena duces tecum on timeliness
grounds and is ordered to produce responsive documents.”).

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the subpoena is served,”) Roma and National Tradeshow must be compelled to comply with the
subpoenas and provide responsive documents.
DATED THIS 1°" day of June, 2020.

HAWLEY TROXELL ENNIS & HAWLEY LLP

By __/s/ William K. Smith
William K. Smith, ISB No. 9769
Attorneys For Petitioner
COSTCO WHOLESALE CORPORATION

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CERTIFICATE OF SERVICE

1 HEREBY CERTIFY that on this 1 day of June, 2020, I caused to be served a true
copy of the foregoing MEMORANDUM IN SUPPORT OF MOTION TO ENFORCE
SUBPOENA DUCES TECUM by the method indicated below, and addressed to each of the
following:

Roma Designer Jewelry LLC U.S. Mail, Postage Prepaid
c/o David Callister, as registered agent 4} Hand Delivered

2873 W, Wind Drive C1 Overnight Mail

Eagle, ID 83616-4693 0 E-mail

L} Facsimile

National Tradeshow LLC V1 U.S. Mail, Postage Prepaid
c/o Becky Callister, as registered agent MI Hand Delivered

2873 W. Wind Drive LI Overnight Mail

Eagle, ID 83616-4693 C1) E-mail

L] Facsimile

/s/ William K. Smith
William K. Smith

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